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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. 20-CV-435-CBM-(PJWx) Date December 15, 2020

 

 

Title Candesha Washington v. ViacomCBS, Inc, et al

 

Present: The Honorable CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE

 

YOLANDA SKIPPER NOT REPORTED
Deputy Clerk Court Reporter
Attomeys Present for Plaintiff: Attorneys Present for Defendant:
NONE PRESENT NONE PRESENT
Brnceedings: IN CHAMBERS- ORDER RE PLAINTIFF’S MOTION FOR LEAVE TO
AMEND COMPLAINT

The matter before the Court is Plaintiff's Motion for Leave to Amend Complaint (the “Motion”). (Dkt.
38.) The matter is not fully briefed.

Local Rule 15 states that “[a]ny proposed amended pleading must be filed as an attachment to the related
motion or stipulation.” Plaintiff did not attach a proposed amended complaint to her Motion. The Court will not
tule on the Motion until Plaintiff attaches a proposed amended complaint.

It is also not clear that the parties met and conferred pursuant to L.R. 6-1, requiring a notice of motion to
be filed with the Clerk not later than twenty-eight (28) days before the date set for hearing, and L.R. 7-3 requiring
a party contemplating the filing of any motion to first contact opposing counsel to discuss thoroughly the substance
of the contemplated motion and any potential resolution at least seven (7) days prior to the filing of the motion.

Accordingly, the proposed amended complaint must be lodged with the Court no later than December 28,
2020. Failure to comply will result in a denial of the motion to amend. If Plaintiff files an amended complaint,
the Court will review and if necessary, will give Defendant time to file further opposition. Plaintiff is reminded
that she is expected to comply with all rules and orders of the Court.

A Pro Se Clinic is now available for litigants representing themselves. It offers information and guidance. The Los
Angeles Clinic operates by appointment only. You may schedule an appointment either by calling the clinic or by using
an internet portal. For more information call the Clinic in Los Angeles at 213-385-2977 ext. 270 or you can submit an
internet request at the following site: http://prose.cacd.uscourts.gov/los-angeles
In Riverside call the Clinic at 951-682-7968 or the Santa Ana Clinic at 714-541-1010 x 222.

IT IS SO ORDERED.

 

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